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  1 Alexander M. Schack, Esq. (CA Bar No. 99126)

  2
      Natasha N. Serino, Esq. (CA Bar No. 284711)
      Shannon F. Nocon, Esq. (CA Bar No. 316523)
  3   SCHACK LAW GROUP
  4   16870 West Bernardo Drive, Suite 400
      San Diego, CA 92127                                         JS-6
  5   Tel: (858) 485-6535 Fax: (858) 485-0608
  6   alexschack@schacklawgroup.com
      natashaserino@schacklawgroup.com
  7   shannonnocon@schacklawgroup.com
  8
      Derek Gilliland, Esq. (TX Bar No. 24007239)
  9 John C. Hull, Esq. (TX Bar No. 24050791)
 10 SOREY, GILLILAND & HULL, LLP
      109 W. Tyler St.
 11 Longview, TX 75601

 12 Tel: (903) 212-2822 Fax: (903) 212-2864
      derek@soreylaw.com
 13 john@soreylaw.com

 14 Admitted Pro Hac Vice

 15 Timothy Micah Dortch, Esq. (TX Bar No. 24044981)

 16 POTTS LAW FIRM
      2911 Turtle Creek Blvd., #1000
 17 Dallas, TX 75219

 18 Tel: (214) 396-9429
      mdortch@potts-law.com
 19 Admitted Pro Hac Vice

 20
      Attorneys for Plaintiffs
 21

 22                         UNITED STATES DISTRICT COURT
 23                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                   ORDER OF DISMISSAL
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